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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                                            CIVIL MINUTES - TRIAL

 Case No.         2:17-CV-03221-RGK-MRW                                                                         Date        July 11, 2018
 Title:           Carl Zeiss et al v. Nikon Corporation et al

 Present: The Honorable            R. GARY KLAUSNER, UNITED STATES DISTRICT JUDGE
                       Sharon L. Williams                                                            Sandra MacNeil/Marea Woolrich
                           Deputy Clerk                                                                    Court Reporter/Recorder


                Attorneys Present for Plaintiff(s):                                                  Attorneys Present for Defendants:
 Chris Marchese; Andrew Kopsidas; Frank Scherkenbach;
   Nicole Williams; Olga May; Oliver Richards; Kurt
                     Glitzenstein                                                            Vincent Belusco; Hector Gallegos; Diana Kruze

                             Day Court Trial          1st                                     Day Jury Trial
                                               st
           One day trial:           Begun (1 day);           X     Held & Continued;                  Completed by jury verdict/submitted to court.
 X    The Jury is impaneled and sworn.
 X    Opening statements made by                      Plaintiff and defense
 X    Witnesses called, sworn and testified.          X     Exhibits Identified         X     Exhibits admitted.

      Plaintiff(s) rest.                                    Defendant(s) rest.
      Closing arguments made by                             plaintiff(s)                    defendant(s).                Court instructs jury.
      Bailiff(s) sworn.                                     Jury retires to deliberate.                                  Jury resumes deliberations.
      Jury Verdict in favor of                              plaintiff(s)                    defendant(s) is read and filed.
      Jury polled.                                          Polling waived.
      Filed Witness & Exhibit Lists                         Filed jury notes.               Filed jury instructions.
      Judgment by Court for                                                                 plaintiff(s)                 defendant(s).
      Findings, Conclusions of Law & Judgment to be prepared by                             plaintiff(s)                 defendant(s).
      Case submitted.                Briefs to be filed by
      Motion to dismiss by                                                         is             granted.             denied.           submitted.
      Motion for mistrial by                                                       is             granted.             denied.           submitted.
      Motion for Judgment/Directed Verdict by                                      is             granted.             denied.           submitted.
      Settlement reached and placed on the record.
      Clerk reviewed admitted exhibits with counsel to be submitted to the Jury/Court for deliberation/findings.
      Counsel stipulate to the return of exhibits upon the conclusion of trial. Exhibit Release Form prepared and filed.
      Trial subpoenaed documents returned to subpoenaing party.
 X    Case continued to       July 12, 2018 at 8:30 a.m.                                        for further trial/further jury deliberation.




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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
                                                   CIVIL MINUTES - TRIAL
 X       OTHER:
Court rules on motions in limine as follows:

Plaintiffs’ Motion in Limine 1 [230] is denied.
Plaintiffs’ Motion in Limine 2 [239] is granted.
Plaintiffs’ Motion in Limine 3 [213] is granted.
Plaintiffs’ Motion in Limine 4 [240] is denied.
Plaintiffs’ Motion in Limine 5 [227] is denied.
Plaintiffs’ Motion in Limine 6 [210] is denied.
Plaintiffs’ Motion in Limine 7 [234] is denied.
Plaintiffs’ Motion in Limine 8 [222] is denied.
Plaintiffs’ Motion in Limine 9 [217] - admissible as to royalties.
Plaintiffs’ Motion in Limine 10 [223] is denied.
Plaintiffs’ Motion in Limine 11 [375] is granted.

Defendants’ Motion in Limine 1 [201] is denied.
Defendants’ Motion in Limine 2 [202] is denied.
Defendants’ Motion in Limine 3 [203] is denied.
Defendants’ Motion in Limine 4 [204] is denied as moot.
Defendants’ Motion in Limine 5 [205] - not applicable.
Defendants’ Motion in Limine 6 [206] is granted.
Defendants’ Motion in Limine 7 [207] is granted.
Defendants’ Motion in Limine 8 [208] - admissible as to royalties.
Defendants’ Motion in Limine 9 [209] is granted.
Defendants’ Motion in Limine 10 [377] is granted.




                                                                                                5         :   05

                                                                     Initials of Deputy Clerk       slw




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